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06                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
07                                     AT SEATTLE

08 UNITED STATES OF AMERICA,              )
                                          )            CASE NO. CR12-047-MJP
09         Plaintiff,                     )
                                          )
10         v.                             )
                                          )            DETENTION ORDER
11   JORGE GARCIA-RODRIGUEZ,              )
                                          )
12         Defendant.                     )
     ____________________________________ )
13

14 Offense charged:        Conspiracy to Distribute Controlled Substances

15 Date of Detention Hearing:     April 2, 2012.

16          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

17 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

18 that no condition or combination of conditions which defendant can meet will reasonably

19 assure the appearance of defendant as required and the safety of other persons and the

20 community.

21         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.     Defendant has been charged with a drug offense, the maximum penalty of which



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01 is in excess of ten years. There is therefore a rebuttable presumption against defendant as to

02 both dangerousness and flight risk, under 18 U.S.C. § 3142(e).

03         2.      Defendant’s criminal record includes two previous VUCSA convictions. If

04 formally alleged, these convictions could lead to the imposition of a penalty of life

05 imprisonment.      Defendant’s second VUCSA conviction was committed while either on

06 probation or just after completing probation for the first VUCSA conviction, and the instant

07 offense allegedly occurred not long after supervision terminated for the second VUCSA

08 conviction. Defendant is a U.S. citizen, although his wife is a Mexican national. He has

09 traveled to Mexico several times in the last 10 years. Defendant previously was a user of

10 controlled substances.

11         3.      Taken as a whole, the record does not effectively rebut the presumption that no

12 condition or combination of conditions will reasonably assure the appearance of the defendant

13 as required and the safety of the community.

14 It is therefore ORDERED:

15      1. Defendant shall be detained pending trial and committed to the custody of the Attorney

16         General for confinement in a correction facility separate, to the extent practicable, from

17         persons awaiting or serving sentences or being held in custody pending appeal;

18      2. Defendant shall be afforded reasonable opportunity for private consultation with

19         counsel;

20      3. On order of the United States or on request of an attorney for the Government, the

21         person in charge of the corrections facility in which defendant is confined shall deliver

22         the defendant to a United States Marshal for the purpose of an appearance in connection



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01        with a court proceeding; and

02     4. The Clerk shall direct copies of this Order to counsel for the United States, to counsel

03        for the defendant, to the United States Marshal, and to the United State Pretrial Services

04        Officer.

05        DATED this 3rd day of April, 2012.

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                                                        A
                                                        Mary Alice Theiler
                                                        United States Magistrate Judge
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